             IN THE DISTRICT COURT OF THE UNITED STATES
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         ASHEVILLE DIVISION
                              1:17 CR 95-2

UNITED STATES OF AMERICA,                    )
                                             )
      v.                                     )            ORDER
                                             )
ELIJAH ANTWON HOPE,                          )
                                             )
                 Defendant.                  )
____________________________________         )


      Pending before the Court is a Violation Report [# 86] filed by the United

States Probation Office alleging that Defendant had violated terms and conditions of

his pretrial release. On January 18, 2018, the Court held a bond revocation hearing.

Defendant was present with his counsel, Jason Randolph Hayes, and the

Government was present through AUSA Richard Lee Edwards. From the evidence

offered and from the statements of the Assistant United States Attorney and the

attorney for Defendant, and the records in this cause, the Court makes the following

findings.

      Findings: At the call of the matter, the Defendant admitted the allegations

contained in the Violation Report [# 86]. The Government then presented testimony

through United States Probation Officer Artie Swinton.

      The Defendant was charged in a bill of indictment filed on August 1, 2017,

with: four counts of destruction of an automobile, in violation of 18 U.S.C. §§ 1363,



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2; and four counts of stealing personal property, in violation of 18 U.S.C. §§ 661, 2;

      On August 25, 2017, the Court held a detention hearing. Defendant was

ordered to be released on a $25,000 unsecured bond with pretrial supervision. The

Court released Defendant on terms and conditions of pretrial release [# 38] which

included the following:

      (1)    The defendant must not violate any federal, state or local law while on
             release;

      (8)(p) refrain from use or unlawful possession of a narcotic drug or other
      controlled substances defined in 21 U.S.C. §802, unless prescribed by a
      licensed medical practitioner.

      On December 11, 2017, the Government filed its violation report stating that

Defendant had used marijuana and cocaine [# 86].           On December 21, 2017,

Defendant and the Government entered into a plea agreement. Defendant was

originally scheduled for his plea hearing on January 5, 2018. The Court granted

Defendant’s motion to continue the plea hearing to January 10, 2018. On January

10, 2018, Defendant failed to appear and the Court issued a bench warrant [# 99].

On January 11, 2018, Defendant was arrested. On January 12, 2018, the Court

accepted Defendant’s plea of guilty to count six of the indictment [# 102]. Defendant

has remained in custody since his arrest and the Court will now revoke his pretrial

release.

      Defendant admitted to the drug use allegation in the Violation Report [# 86].

According to the report, on November 29, 2017, Defendant submitted a urine sample
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to probation for testing. The sample tested positive for marijuana and cocaine. On

December 5, 2017, Defendant signed an admission form stating that he had used

drugs during the 2017 Thanksgiving holiday. Defendant stated that he was unaware

that there was cocaine in the marijuana he smoked [# 86].

        Discussion. 18 U.S.C. § 3148(b)(1) provides as follows: The judicial officer

shall enter an order of revocation and detention if, after a hearing, the judicial officer

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        (1)   finds that there is----
              (A) probable cause to believe that the person has committed a Federal,
              State, or local crime while on release; or
              (B) clear and convincing evidence that the person has violated any other
              condition of release; and
        (2)   finds that ---
              (A) based on the factors set forth in section 3142(g) of this title, there
              is no condition or combination of conditions of release that will assure
              that the person will not flee or pose a danger to the safety of any other
              person or the community; or
              (B) the person is unlikely to abide by any condition or combination of
                     conditions of release.

        If there is probable cause to believe that, while on release, the person
        committed a Federal, State, or local felony, a rebuttable presumption arises
        that no condition or combination of conditions will assure that the person will
        not pose a danger to the safety of any other person or the community.

        Based upon the evidence, the Court finds there is probable cause to believe

that Defendant has committed a federal and state crime while on release. The

possession and consumption of marijuana is a misdemeanor under federal law, 21

U.S.C. § 844 and is a felony under state law, N.C.G.S. § 90-95(a)(3). Due to the

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fact there is probable cause to believe that Defendant committed a state felony, a

rebuttable presumption arises, pursuant to 18 U.S.C. § 3148 that no condition or

combination of conditions would assure that Defendant would not pose a danger to

the safety of any other person or the community.

      There has further been shown by clear and convincing evidence that

Defendant violated the condition of release that ordered him to refrain from use or

unlawful possession of a narcotic drug unless it was prescribed by a license medical

practitioner. Defendant has clearly violated this condition by using marijuana and

cocaine—drugs that were not prescribed by a licensed medical practitioner.

      Due to the findings and further considering the presumption that has been

created and also considering the factors as set forth under 18 U.S.C. § 3142(g), it

appears there is no condition or combination of conditions of release that will assure

that Defendant will not pose a danger to the safety of any other person or the

community. It is the opinion of the Court that, based upon Defendant’s actions, it is

unlikely that Defendant will abide by any condition or combination of conditions of

release.

      As a result of the findings, the Court has determined to enter an order of

revocation revoking the unsecured bond and the terms of pretrial release previously

issued in this matter and entering an order detaining Defendant.

                                      ORDER

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      IT IS, THEREFORE, ORDERED that the unsecured bond [# 37] and terms

and conditions of pretrial release [# 38] entered in this matter are hereby REVOKED

and it is ORDERED that Defendant shall be detained pending further proceedings

in this matter.

      The Court will, however, consider a motion for a hearing on reconsidering

Defendant’s pretrial release at least forty (40) days from Defendant’s arrest. Thus,

if appropriate, Defendant may move for a hearing after February 20, 2018.



                                  Signed: January 19, 2018




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